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                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF GEORGIA
                              ATLANTA DIVISION


------------------------------------------------------------------------x
 Jeffrey Brown,

                        Plaintiff,                                     C.A. No.:




        -against-                                                      DEMAND FOR JURY
                                                                       TRIAL

 Equifax Information Services, LLC,
 TransUnion, LLC,
 American Credit Acceptance, LLC,
 Byrider Finance, LLC d/b/a CNAC,
 Scana Energy Marketing LLC,

                        Defendant(s).
------------------------------------------------------------------------x



                                        COMPLAINT
       Plaintiff Jeffrey Brown ("Plaintiff"), by and through his attorneys, and as for

his Complaint against Defendant Equifax Information Services, LLC (“Equifax”),

Defendant TransUnion, LLC (“Transunion”), Defendant American Credit

Acceptance, LLC (“ACA”), Defendant Byrider Finance, LLC d/b/a CNAC

(“CNAC”), and Defendant Scana Energy Marketing, LLC (“Scana”) respectfully

sets forth, complains, and alleges, upon information and belief, the following:
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                     JURISDICTION AND VENUE

1. The Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1367, as

   well as 15 U.S.C. § 1681p et seq. The Court also has pendent jurisdiction

   over any State law claims in this action pursuant to 28 U.S.C. § 1367(a).

2. Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391(b)(2)

   being that the acts and transactions occurred here, Plaintiff resides here, and

   Defendants transact business here.

3. Plaintiff brings this action for damages and declaratory and injunctive relief

   arising from the Defendant’s violations of 15 U.S.C. § 1681 et seq.,

   commonly known as the Fair Credit Reporting Act (“FCRA”).



                                 PARTIES

4. Plaintiff is a resident of the State of Georgia, County of Newton, residing at

   135 Thrasher Road, Covington, GA 30016.

5. At all times material hereto, Plaintiff was a “consumer” as said term is

   defined under 15 U.S.C. § 1681a(c).

6. Defendant Equifax Information Services, LLC is a consumer reporting

   agency as defined by 15 U.S.C. § 1681a(f) and conducts substantial and

   regular business activities in this judicial district. Defendant Equifax is a
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   Georgia corporation and may be served with process upon Lisa Stockard,

   its registered agent for service of process at 1550 Peachtree St. NE, Atlanta,

   GA 30309.

7. At all times material here to Equifax is a consumer reporting agency

   regularly engaged in the business of assembling, evaluating and disbursing

   information concerning consumers for the purpose of furnishing consumer

   reports, as said term is defined under 15 U.S.C. § 1681d to third parties.

8. At all times material hereto, Equifax disbursed such consumer reports to

   third parties under a contract for monetary compensation.

9. Defendant TransUnion, LLC is a consumer reporting agency as defined by

   15 U.S.C. § 1681a(f) and conducts substantial and regular business

   activities in this judicial district. Defendant Transunion is a Delaware

   corporation registered to do business in the State of Georgia, and may be

   served with process upon the Prentice Hall Corporation System, Inc., its

   registered agent for service of process at 40 Technology Parkway South,

   #300, Norcross, GA, 30092.

10.At all times material here to Transunion is a consumer reporting agency

   regularly engaged in the business of assembling, evaluating and disbursing

   information concerning consumers for the purpose of furnishing consumer

   reports, as said term is defined under 15 U.S.C. § 1681d to third parties.
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11.At all times material hereto, Transunion disbursed such consumer reports to

   third parties under a contract for monetary compensation.

12.Defendant American Credit Acceptance, LLC is a person who furnishes

   information to consumer reporting agencies under 15 U.S.C. § 1681s-2.

13.Defendant ACA is a South Carolina corporation with an address for service

   in Georgia c/o CT Corporation System, its registered agent for service of

   process at 289 S. Culver Street, Lawrenceville, GA 30046.

14.Defendant Byrider Finance, LLC d/b/a CNAC is a person who furnishes

   information to consumer reporting agencies under 15 U.S.C. § 1681s-2.

15.Defendant CNAC is located at 12802 Hamilton Crossing Blvd, Carmel, IN,

   46032.

16.Defendant Scana Energy Marketing, LLC is a person who furnishes

   information to consumer reporting agencies under 15 U.S.C. § 1681s-2.

17.Defendant Scana is a South Carolina corporation with an address for service

   in Georgia c/o CT Corporation System, its registered agent for service of

   process at 289 S. Culver Street, Lawrenceville, GA 30046.

                      FACTUAL ALLEGATIONS

18.Plaintiff incorporates by reference all of the above paragraphs of this

   Complaint as though fully stated herein with the same force and effect as if

   the same were set forth at length herein.
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                              ACA Dispute and Violation

19.On information and belief, on a date better known to Defendant Equifax,

   Equifax prepared and issued credit reports concerning the Plaintiff that

   included inaccurate information relating to his ACA debt.

20.The inaccurate information furnished by Defendant ACA and published by

   the Equifax is inaccurate since it contains a misstated past due balance,

   specifically a past due balance that is higher than the total balance owed.

21.Equifax has been reporting this inaccurate information through the issuance

   of false and inaccurate credit information and consumer reports that they

   have disseminated to various persons and credit grantors, both known and

   unknown.

22.Plaintiff notified Equifax that he disputed the accuracy of the information

   that Equifax was reporting, on or around December 28, 2018, via dispute

   letter.

23.It is believed and therefore averred that Equifax notified Defendant ACA of

   the Plaintiff’s dispute.

24.Upon receipt of the dispute of the account from the Plaintiff by Equifax,

   ACA failed to conduct a reasonable investigation and continued to report

   false and inaccurate adverse information on the consumer report of the

   Plaintiff with respect to the disputed account.
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25.Additionally, Defendant ACA failed to continuously mark the account as

   disputed despite receiving notice of the Plaintiff’s dispute.

26.Despite the dispute by the Plaintiff that the information on his consumer

   report was inaccurate with respect to the dispute account, Equifax did not

   evaluate or consider any of the information, claims, or evidence of the

   Plaintiff and did not make an attempt to substantially reasonably verify that

   the derogatory information concerning the disputed account was inaccurate.

27.The Bureaus violated 15 U.S. Code § 1681i (a)(1)(A) by failing to conduct

   a reasonable investigation and failed to delete or correct the disputed trade

   lines within 30 days of receiving Plaintiff’s dispute letter.

28.Notwithstanding Plaintiff’s efforts, Equifax failed to timely respond to

   Plaintiff’s dispute as required under the FCRA.

29.As a result of Defendants’ failure to comply with the FCRA, the Plaintiff

   suffered damage by loss of credit, loss of ability to purchase and benefit

   from credit, a chilling effect on applications for future credit, and the

   mental and emotional pain, anguish, humiliation and embarrassment of

   credit denial.


                           CNAC Dispute and Violation
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30.On information and belief, on a date better known to Defendant Transunion,

   Transunion prepared and issued credit reports concerning the Plaintiff that

   included inaccurate information relating to his CNAC debt.

31.The inaccurate information furnished by Defendant CNAC and published

   by the Transunion is inaccurate since it contains a misstated balance higher

   than what he owes.

32.Transunion has been reporting this inaccurate information through the

   issuance of false and inaccurate credit information and consumer reports

   that they have disseminated to various persons and credit grantors, both

   known and unknown.

33.Plaintiff notified Transunion that he disputed the accuracy of the

   information that Transunion was reporting, on or around December 28,

   2018, via dispute letter.

34.It is believed and therefore averred that Transunion notified Defendant

   CNAC of the Plaintiff’s dispute.

35.Upon receipt of the dispute of the account from the Plaintiff by Transunion,

   CNAC failed to conduct a reasonable investigation and continued to report

   false and inaccurate adverse information on the consumer report of the

   Plaintiff with respect to the disputed account.
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36.Additionally, Defendant CNAC failed to continuously mark the account as

   disputed despite receiving notice of the Plaintiff’s dispute.

37.Despite the dispute by the Plaintiff that the information on his consumer

   report was inaccurate with respect to the dispute account, Transunion did

   not evaluate or consider any of the information, claims, or evidence of the

   Plaintiff and did not make an attempt to substantially reasonably verify that

   the derogatory information concerning the disputed account was inaccurate.

38.The Bureaus violated 15 U.S. Code § 1681i (a)(1)(A) by failing to conduct

   a reasonable investigation and failed to delete or correct the disputed trade

   lines within 30 days of receiving Plaintiff’s dispute letter.

39.Notwithstanding Plaintiff’s efforts, Defendant Transunion sent Plaintiff

   correspondence indicating their intent to continue publishing the inaccurate

   information and Defendants continued to publish and disseminate such

   inaccurate information to other third parties, persons, entities and credit

   grantors.

40.As a result of Defendants’ failure to comply with the FCRA, the Plaintiff

   suffered damage by loss of credit, loss of ability to purchase and benefit

   from credit, a chilling effect on applications for future credit, and the

   mental and emotional pain, anguish, humiliation and embarrassment of

   credit denial.
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                           Scana Dispute and Violation

41.On information and belief, on a date better known to Defendant Equifax,

   Equifax prepared and issued credit reports concerning the Plaintiff that

   included inaccurate information relating to his SCANA debt.

42.The inaccurate information furnished by Defendant SCANA and published

   by the Equifax is inaccurate since it contains a balance, when the Plaintiff

   states he does not owe any money.

43.Equifax has been reporting this inaccurate information through the issuance

   of false and inaccurate credit information and consumer reports that they

   have disseminated to various persons and credit grantors, both known and

   unknown.

44.Plaintiff notified Equifax that he disputed the accuracy of the information

   that Equifax was reporting, on or around December 28, 2018, via dispute

   letter.

45.It is believed and therefore averred that Equifax notified Defendant

   SCANA of the Plaintiff’s dispute.

46.Upon receipt of the dispute of the account from the Plaintiff by Equifax,

   SCANA failed to conduct a reasonable investigation and continued to

   report false and inaccurate adverse information on the consumer report of

   the Plaintiff with respect to the disputed account.
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47.Additionally, Defendant SCANA failed to continuously mark the account

   as disputed despite receiving notice of the Plaintiff’s dispute.

48.Despite the dispute by the Plaintiff that the information on his consumer

   report was inaccurate with respect to the dispute account, Equifax did not

   evaluate or consider any of the information, claims, or evidence of the

   Plaintiff and did not make an attempt to substantially reasonably verify that

   the derogatory information concerning the disputed account was inaccurate.

49.The Bureaus violated 15 U.S. Code § 1681i (a)(1)(A) by failing to conduct

   a reasonable investigation and failed to delete or correct the disputed trade

   lines within 30 days of receiving Plaintiff’s dispute letter.

50.Notwithstanding Plaintiff’s efforts, Equifax failed to timely respond to

   Plaintiff’s dispute as required under the FCRA.

51.As a result of Defendants’ failure to comply with the FCRA, the Plaintiff

   suffered damage by loss of credit, loss of ability to purchase and benefit

   from credit, a chilling effect on applications for future credit, and the

   mental and emotional pain, anguish, humiliation and embarrassment of

   credit denial.
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                      FIRST CAUSE OF ACTION
              (Willful Violation of the FCRA as to Equifax)
52.Plaintiff incorporates by reference all of the above paragraphs of this

   Complaint as though fully stated herein with the same force and effect as if

   the same were set forth at length herein.

53.This is an action for willful violation of the Fair Credit Reporting Act U.S.C.

   § 1681 et seq.

54.Equifax violated 15 U.S.C. § 1681e by failing to establish or to follow

   reasonable procedures to assure maximum possible accuracy in the

   preparation of the credit report and credit files that Equifax maintained

   concerning the Plaintiff.

55.Equifax has willfully and recklessly failed to comply with the Act. The

   failure of Equifax to comply with the Act include but are not necessarily

   limited to the following:

         a) The failure to follow reasonable procedures to assure the maximum

            possible accuracy of the information reported;

         b) The failure to correct erroneous personal information regarding the

            Plaintiff after a reasonable request by the Plaintiff;

         c) The failure to remove and/or correct the inaccuracy and derogatory

            credit information after a reasonable request by the Plaintiff;
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        d) The failure to promptly and adequately investigate information

            which Defendant Equifax had notice was inaccurate;

        e) The continual placement of inaccurate information into the credit

            report of the Plaintiff after being advised by the Plaintiff that the

            information was inaccurate;

        f) The failure to note in the credit report that the Plaintiff disputed the

            accuracy of the information;

        g) The failure to promptly delete information that was found to be

            inaccurate, or could not be verified, or that the source of information

            had advised Equifax to delete;

        h) The failure to take adequate steps to verify information Equifax had

            reason to believe was inaccurate before including it in the credit

            report of the consumer.

56.As a result of the conduct, action and inaction of Equifax, the Plaintiff

   suffered damage by loss of credit, loss of ability to purchase and benefit from

   credit, and the mental and emotional pain, anguish, humiliation and

   embarrassment of credit denial.

57.The conduct, action and inaction of Equifax was willful rendering Equifax

   liable for actual, statutory and punitive damages in an amount to be

   determined by a Judge/ and or Jury pursuant to 15 U.S.C. § 1681n.
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   58.The Plaintiff is entitled to recover reasonable costs and attorney’s fees from

       Equifax in an amount to be determined by the Court pursuant to 15 U.S.C.

       § 1681n.

   WHEREFORE, Plaintiff, Jeffrey Brown, an individual, demands judgment in his

favor against Defendant, Equifax, for damages together with attorney’s fees and

court costs pursuant to 15 U.S.C. § 1681n.



                         SECOND CAUSE OF ACTION
                  (Negligent Violation of the FCRA as to Equifax)
   59.Plaintiff incorporates by reference all of the above paragraphs of this

       Complaint as though fully stated herein with the same force and effect as if

       the same were set forth at length herein.

   60.This is an action for negligent violation of the Fair Credit Reporting Act

       U.S.C. § 1681 et seq.

   61.Equifax violated 15 U.S.C. § 1681i(a) by failing to delete inaccurate

       information from the credit file of the Plaintiff after receiving actual notice

       of such inaccuracies and conducting reinvestigation and by failing to

       maintain reasonable procedures with which to verify the disputed

       information in the credit file of the Plaintiff.
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62.Equifax has negligently failed to comply with the Act. The failure of Equifax

   to comply with the Act include but are not necessarily limited to the

   following:

        a) The failure to follow reasonable procedures to assure the maximum

            possible accuracy of the information reported;

        b) The failure to correct erroneous personal information regarding the

            Plaintiff after a reasonable request by the Plaintiff;

        c) The failure to remove and/or correct the inaccuracy and derogatory

            credit information after a reasonable request by the Plaintiff;

        d) The failure to promptly and adequately investigate information

            which Defendant Equifax had notice was inaccurate;

        e) The continual placement of inaccurate information into the credit

            report of the Plaintiff after being advised by the Plaintiff that the

            information was inaccurate;

        f) The failure to note in the credit report that the Plaintiff disputed the

            accuracy of the information;

        g) The failure to promptly delete information that was found to be

            inaccurate, or could not be verified, or that the source of information

            had advised Equifax to delete;
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            h) The failure to take adequate steps to verify information Equifax had

                reason to believe was inaccurate before including it in the credit

                report of the consumer.

   63.As a result of the conduct, action and inaction of Equifax, the Plaintiff

       suffered damage by loss of credit, loss of ability to purchase and benefit from

       credit, and the mental and emotional pain, anguish, humiliation and

       embarrassment of credit denial.

   64.The conduct, action and inaction of Equifax was negligent, entitling the

       Plaintiff to damages under 15 U.S.C. § 1681o.

   65.The Plaintiff is entitled to recover reasonable costs and attorney’s fees from

       Equifax in an amount to be determined by the Court pursuant to 15 U.S.C.

       § 1681n and 1681o.

   WHEREFORE, Plaintiff, Jeffrey Brown, an individual, demands judgment in his

favor against Defendant, Equifax, for damages together with attorney’s fees and

court costs pursuant to 15 U.S.C. § 1681o.

                          THIRD CAUSE OF ACTION
               (Willful Violation of the FCRA as to Transunion)
   66.Plaintiff incorporates by reference all of the above paragraphs of this

       Complaint as though fully stated herein with the same force and effect as if

       the same were set forth at length herein.
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67.This is an action for willful violation of the Fair Credit Reporting Act U.S.C.

   § 1681 et seq.

68.Transunion violated 15 U.S.C. § 1681e by failing to establish or to follow

   reasonable procedures to assure maximum possible accuracy in the

   preparation of the credit report and credit files that Transunion maintained

   concerning the Plaintiff.

69.Transunion has willfully and recklessly failed to comply with the Act. The

   failure of Transunion to comply with the Act include but are not necessarily

   limited to the following:

         a) The failure to follow reasonable procedures to assure the maximum

            possible accuracy of the information reported;

         b) The failure to correct erroneous personal information regarding the

            Plaintiff after a reasonable request by the Plaintiff;

         c) The failure to remove and/or correct the inaccuracy and derogatory

            credit information after a reasonable request by the Plaintiff;

         d) The failure to promptly and adequately investigate information

            which Defendant Transunion had notice was inaccurate;

         e) The continual placement of inaccurate information into the credit

            report of the Plaintiff after being advised by the Plaintiff that the

            information was inaccurate;
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        f) The failure to note in the credit report that the Plaintiff disputed the

              accuracy of the information;

        g) The failure to promptly delete information that was found to be

              inaccurate, or could not be verified, or that the source of information

              had advised Transunion to delete;

        h) The failure to take adequate steps to verify information Transunion

              had reason to believe was inaccurate before including it in the credit

              report of the consumer.

70.As a result of the conduct, action and inaction of Transunion, the Plaintiff

   suffered damage by loss of credit, loss of ability to purchase and benefit from

   credit, and the mental and emotional pain, anguish, humiliation and

   embarrassment of credit denial.

71.The conduct, action and inaction of Transunion was willful rendering

   Transunion liable for actual, statutory and punitive damages in an amount to

   be determined by a Judge/ and or Jury pursuant to 15 U.S.C. § 1681n.

72.The Plaintiff is entitled to recover reasonable costs and attorney’s fees from

   Transunion in an amount to be determined by the Court pursuant to 15 U.S.C.

   § 1681n.
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   WHEREFORE, Plaintiff, Jeffrey Brown, an individual, demands judgment in his

favor against Defendant, Transunion, for damages together with attorney’s fees and

court costs pursuant to 15 U.S.C. § 1681n.

                         FOURTH CAUSE OF ACTION
              (Negligent Violation of the FCRA as to Transunion)
   73.Plaintiff incorporates by reference all of the above paragraphs of this

       Complaint as though fully stated herein with the same force and effect as if

       the same were set forth at length herein.

   74.This is an action for negligent violation of the Fair Credit Reporting Act

       U.S.C. § 1681 et seq.

   75.Transunion violated 15 U.S.C. § 1681i(a) by failing to delete inaccurate

       information from the credit file of the Plaintiff after receiving actual notice

       of such inaccuracies and conducting reinvestigation and by failing to

       maintain reasonable procedures with which to verify the disputed

       information in the credit file of the Plaintiff.

   76.Transunion has negligently failed to comply with the Act. The failure of

       Transunion to comply with the Act include but are not necessarily limited to

       the following:

             a) The failure to follow reasonable procedures to assure the maximum

                possible accuracy of the information reported;
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        b) The failure to correct erroneous personal information regarding the

            Plaintiff after a reasonable request by the Plaintiff;

        c) The failure to remove and/or correct the inaccuracy and derogatory

            credit information after a reasonable request by the Plaintiff;

        d) The failure to promptly and adequately investigate information

            which Defendant Transunion had notice was inaccurate;

        e) The continual placement of inaccurate information into the credit

            report of the Plaintiff after being advised by the Plaintiff that the

            information was inaccurate;

        f) The failure to note in the credit report that the Plaintiff disputed the

            accuracy of the information;

        g) The failure to promptly delete information that was found to be

            inaccurate, or could not be verified, or that the source of information

            had advised Transunion to delete;

        h) The failure to take adequate steps to verify information Transunion

            had reason to believe was inaccurate before including it in the credit

            report of the consumer.

77.As a result of the conduct, action and inaction of Transunion, the Plaintiff

   suffered damage by loss of credit, loss of ability to purchase and benefit from
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       credit, and the mental and emotional pain, anguish, humiliation and

       embarrassment of credit denial.

   78.The conduct, action and inaction of Transunion was negligent, entitling the

       Plaintiff to damages under 15 U.S.C. § 1681o.

   79.The Plaintiff is entitled to recover reasonable costs and attorney’s fees from

       Transunion in an amount to be determined by the Court pursuant to 15 U.S.C.

       § 1681n and 1681o.

   WHEREFORE, Plaintiff, Jeffrey Brown, an individual, demands judgment in his

favor against Defendant, Transunion, for damages together with attorney’s fees and

court costs pursuant to 15 U.S.C. § 1681o.

                          FIFTH CAUSE OF ACTION
             (Willful Violation of the FCRA as to Defendant ACA)
   80.Plaintiff incorporates by reference all of the above paragraphs of this

       Complaint as though fully stated herein with the same force and effect as if

       the same were set forth at length herein.

   81.This is an action for willful violation of the Fair Credit Reporting Act U.S.C.

       § 1681 et seq.

   82.Pursuant to the Act, all person who furnished information to reporting

       agencies must participate in re-investigations conducted by the agencies

       when consumers dispute the accuracy and completeness of information

       contained in a consumer credit report.
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83.Pursuant to the Act, a furnisher of disputed information is notified by the

   reporting agency when the agency receives a notice of dispute from a

   consumer such as the Plaintiff. The furnisher must then conduct a timely

   investigation of the disputed information and review all relevant information

   provided by the agency.

84.The results of the investigation must be reported to the agency and, if the

   investigation reveals that the original information is incomplete or

   inaccurate, the information from a furnisher such as the above listed above

   must report the results to other agencies which were supplied such

   information.

85.The Defendant ACA violated 15 U.S.C. § 1681s2-b by the publishing of the

   Account Liability Representation; by failing to fully and properly investigate

   the dispute of the Plaintiff with respect to the Account Liability

   Representation; by failing to review all relevant information regarding same

   by failing to correctly report results of an accurate investigation to the credit

   reporting agencies.

86.Specifically, the Defendant ACA continued to report this account on the

   Plaintiff’s credit report after being notified of his dispute regarding the

   improper past due balance.
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   87.Additionally, Defendant ACA failed to continuously mark the account as

       disputed despite receiving notice of the Plaintiff’s dispute.

   88.As a result of the conduct, action and inaction of the Defendant ACA, the

       Plaintiff suffered damage for the loss of credit, loss of the ability to purchase

       and benefit from credit, and the mental and emotional pain, anguish,

       humiliation and embarrassment of credit denials.

   89.The conduct, action and inaction of Defendant ACA was willful, rendering

       Defendant ACA liable for actual, statutory and punitive damages in an

       amount to be determined by a jury pursuant to 15 U.S.C. § 1681n.

   90.The Plaintiff is entitled to recover reasonable costs and attorney’s fees from

       Defendant ACA in an amount to be determined by the Court pursuant to 15

       U.S.C. § 1681n.

   WHEREFORE, Plaintiff, Jeffrey Brown, an individual, demands judgment in his

favor against Defendant ACA for damages together with attorney’s fees and court

costs pursuant to 15 U.S.C. § 1681n.

                          SIXTH CAUSE OF ACTION
           (Negligent Violation of the FCRA as to Defendant ACA)
   91.Plaintiff incorporates by reference all of the above paragraphs of this

       Complaint as though fully stated herein with the same force and effect as if

       the same were set forth at length herein.
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92.This is an action for negligent violation of the Fair Credit Reporting Act

   U.S.C. § 1681 et seq.

93.Pursuant to the Act, all person who furnished information to reporting

   agencies must participate in re-investigations conducted by the agencies

   when consumers dispute the accuracy and completeness of information

   contained in a consumer credit report.

94.Pursuant to the Act, a furnisher of disputed information is notified by the

   reporting agency when the agency receives a notice of dispute from a

   consumer such as the Plaintiff. The furnisher must then conduct a timely

   investigation of the disputed information and review all relevant information

   provided by the agency.

95.The results of the investigation must be reported to the agency and, if the

   investigation reveals that the original information is incomplete or

   inaccurate, the information from a furnisher such as the above-named

   Defendant must report the results to other agencies which were supplied such

   information.

96.Defendant ACA is liable to the Plaintiff for failing to comply with the

   requirements imposed on furnishers of information pursuant to 15 U.S.C.

   § 1681s2-b.
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   97.After receiving the Dispute Notice from Equifax, Defendant ACA

       negligently failed to conduct its reinvestigation in good faith.

   98.A reasonable investigation would require a furnisher such as Defendant ACA

       to consider and evaluate a specific dispute by the consumer, along with all

       other facts, evidence and materials provided by the agency to the furnisher.

   99.Additionally, Defendant ACA failed to continuously mark the account as

       disputed despite receiving notice of the Plaintiff’s dispute.

   100.     The conduct, action and inaction of Defendant ACA was negligent,

       entitling the Plaintiff to recover actual damages under 15 U.S.C. § 1681o.

   101.     As a result of the conduct, action and inaction of the Defendant ACA,

       the Plaintiff suffered damage for the loss of credit, loss of the ability to

       purchase and benefit from credit, and the mental and emotional pain, anguish,

       humiliation and embarrassment of credit denials.

   102.     The Plaintiff is entitled to recover reasonable costs and attorney’s fees

       from the Defendant ACA in an amount to be determined by the Court

       pursuant to 15 U.S.C. § 1681n and 1681o.

   WHEREFORE, Plaintiff, Jeffrey Brown, an individual, demands judgment in his

favor against Defendant ACA, for damages together with attorney’s fees and court

costs pursuant to 15 U.S.C. § 1681o.

                        SEVENTH CAUSE OF ACTION
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       (Willful Violation of the FCRA as to Defendant CNAC)
103.   Plaintiff incorporates by reference all of the above paragraphs of this

  Complaint as though fully stated herein with the same force and effect as if

  the same were set forth at length herein.

104.   This is an action for willful violation of the Fair Credit Reporting Act

  U.S.C. § 1681 et seq.

  Pursuant to the Act, all person who furnished information to reporting

  agencies must participate in re-investigations conducted by the agencies

  when consumers dispute the accuracy and completeness of information

  contained in a consumer credit report.

105.   Pursuant to the Act, a furnisher of disputed information is notified by

  the reporting agency when the agency receives a notice of dispute from a

  consumer such as the Plaintiff. The furnisher must then conduct a timely

  investigation of the disputed information and review all relevant information

  provided by the agency.

106.   The results of the investigation must be reported to the agency and, if

  the investigation reveals that the original information is incomplete or

  inaccurate, the information from a furnisher such as the above listed above

  must report the results to other agencies which were supplied such

  information.
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107. The Defendant CNAC violated 15 U.S.C. § 1681s2-b by the publishing of

  the Account Liability Representation; by failing to fully and properly

  investigate the dispute of the Plaintiff with respect to the Account Liability

  Representation; by failing to review all relevant information regarding same

  by failing to correctly report results of an accurate investigation to the credit

  reporting agencies.

108.    Specifically, the Defendant CNAC continued to report this account on

  the Plaintiff’s credit report after being notified of his dispute regarding the

  account balance.

109.    Additionally, Defendant CNAC failed to continuously mark the

  account as disputed despite receiving notice of the Plaintiff’s dispute.

110.    As a result of the conduct, action and inaction of the Defendant CNAC,

  the Plaintiff suffered damage for the loss of credit, loss of the ability to

  purchase and benefit from credit, and the mental and emotional pain, anguish,

  humiliation and embarrassment of credit denials.

111.    The conduct, action and inaction of Defendant CNAC was willful,

  rendering Defendant ACA liable for actual, statutory and punitive damages

  in an amount to be determined by a jury pursuant to 15 U.S.C. § 1681n.
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   112.     The Plaintiff is entitled to recover reasonable costs and attorney’s fees

       from Defendant CNAC in an amount to be determined by the Court pursuant

       to 15 U.S.C. § 1681n.

   WHEREFORE, Plaintiff, Jeffrey Brown, an individual, demands judgment in his

favor against Defendant CNAC for damages together with attorney’s fees and court

costs pursuant to 15 U.S.C. § 1681n.

                        EIGHTH CAUSE OF ACTION
          (Negligent Violation of the FCRA as to Defendant CNAC)
   113.     Plaintiff incorporates by reference all of the above paragraphs of this

       Complaint as though fully stated herein with the same force and effect as if

       the same were set forth at length herein.

   114.     This is an action for negligent violation of the Fair Credit Reporting Act

       U.S.C. § 1681 et seq.

   115.     Pursuant to the Act, all person who furnished information to reporting

       agencies must participate in re-investigations conducted by the agencies

       when consumers dispute the accuracy and completeness of information

       contained in a consumer credit report.

   116.     Pursuant to the Act, a furnisher of disputed information is notified by

       the reporting agency when the agency receives a notice of dispute from a

       consumer such as the Plaintiff. The furnisher must then conduct a timely
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  investigation of the disputed information and review all relevant information

  provided by the agency.

117.   The results of the investigation must be reported to the agency and, if

  the investigation reveals that the original information is incomplete or

  inaccurate, the information from a furnisher such as the above-named

  Defendant must report the results to other agencies which were supplied such

  information.

118.   Defendant CNAC is liable to the Plaintiff for failing to comply with the

  requirements imposed on furnishers of information pursuant to 15 U.S.C.

  § 1681s2-b.

119.   After receiving the Dispute Notice from Transunion, Defendant CNAC

  negligently failed to conduct its reinvestigation in good faith.

120.   A reasonable investigation would require a furnisher such as Defendant

  CNAC to consider and evaluate a specific dispute by the consumer, along

  with all other facts, evidence and materials provided by the agency to the

  furnisher.

121.   Additionally, Defendant CNAC failed to continuously mark the

  account as disputed despite receiving notice of the Plaintiff’s dispute.

122.   The conduct, action and inaction of Defendant CNAC was negligent,

  entitling the Plaintiff to recover actual damages under 15 U.S.C. § 1681o.
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   123.     As a result of the conduct, action and inaction of the Defendant CNAC,

       the Plaintiff suffered damage for the loss of credit, loss of the ability to

       purchase and benefit from credit, and the mental and emotional pain, anguish,

       humiliation and embarrassment of credit denials.

   124.     The Plaintiff is entitled to recover reasonable costs and attorney’s fees

       from the Defendant CNAC in an amount to be determined by the Court

       pursuant to 15 U.S.C. § 1681n and 1681o.

   WHEREFORE, Plaintiff, Jeffrey Brown, an individual, demands judgment in his

favor against Defendant CNAC, for damages together with attorney’s fees and court

costs pursuant to 15 U.S.C. § 1681o.

                         NINTH CAUSE OF ACTION
            (Willful Violation of the FCRA as to Defendant Scana)
   125.     Plaintiff incorporates by reference all of the above paragraphs of this

       Complaint as though fully stated herein with the same force and effect as if

       the same were set forth at length herein.

   126.     This is an action for willful violation of the Fair Credit Reporting Act

       U.S.C. § 1681 et seq.

   127.     Pursuant to the Act, all person who furnished information to reporting

       agencies must participate in re-investigations conducted by the agencies

       when consumers dispute the accuracy and completeness of information

       contained in a consumer credit report.
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128.   Pursuant to the Act, a furnisher of disputed information is notified by

  the reporting agency when the agency receives a notice of dispute from a

  consumer such as the Plaintiff. The furnisher must then conduct a timely

  investigation of the disputed information and review all relevant information

  provided by the agency.

129.   The results of the investigation must be reported to the agency and, if

  the investigation reveals that the original information is incomplete or

  inaccurate, the information from a furnisher such as the above listed above

  must report the results to other agencies which were supplied such

  information.

130.   The Defendant Scana violated 15 U.S.C. § 1681s2-b by the publishing

  of the Account Liability Representation; by failing to fully and properly

  investigate the dispute of the Plaintiff with respect to the Account Liability

  Representation; by failing to review all relevant information regarding same

  by failing to correctly report results of an accurate investigation to the credit

  reporting agencies.

131.   Specifically, the Defendant Scana continued to report this account on

  the Plaintiff’s credit report after being notified of his dispute regarding the

  account balance.
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   132.     Additionally, Defendant Scana failed to continuously mark the account

       as disputed despite receiving notice of the Plaintiff’s dispute.

   133.     As a result of the conduct, action and inaction of the Defendant Scana,

       the Plaintiff suffered damage for the loss of credit, loss of the ability to

       purchase and benefit from credit, and the mental and emotional pain, anguish,

       humiliation and embarrassment of credit denials.

   134.     The conduct, action and inaction of Defendant Scana was willful,

       rendering Defendant ACA liable for actual, statutory and punitive damages

       in an amount to be determined by a jury pursuant to 15 U.S.C. § 1681n.

   135.     The Plaintiff is entitled to recover reasonable costs and attorney’s fees

       from Defendant Scana in an amount to be determined by the Court pursuant

       to 15 U.S.C. § 1681n.

   WHEREFORE, Plaintiff, Jeffrey Brown, an individual, demands judgment in his

favor against Defendant Scana for damages together with attorney’s fees and court

costs pursuant to 15 U.S.C. § 1681n.



                          TENTH CAUSE OF ACTION
           (Negligent Violation of the FCRA as to Defendant Scana)
   136.     Plaintiff incorporates by reference all of the above paragraphs of this

       Complaint as though fully stated herein with the same force and effect as if

       the same were set forth at length herein.
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137.   This is an action for negligent violation of the Fair Credit Reporting Act

  U.S.C. § 1681 et seq.

138.   Pursuant to the Act, all person who furnished information to reporting

  agencies must participate in re-investigations conducted by the agencies

  when consumers dispute the accuracy and completeness of information

  contained in a consumer credit report.

139.   Pursuant to the Act, a furnisher of disputed information is notified by

  the reporting agency when the agency receives a notice of dispute from a

  consumer such as the Plaintiff. The furnisher must then conduct a timely

  investigation of the disputed information and review all relevant information

  provided by the agency.

140.   The results of the investigation must be reported to the agency and, if

  the investigation reveals that the original information is incomplete or

  inaccurate, the information from a furnisher such as the above-named

  Defendant must report the results to other agencies which were supplied such

  information.

141.   Defendant Scana is liable to the Plaintiff for failing to comply with the

  requirements imposed on furnishers of information pursuant to 15 U.S.C.

  § 1681s2-b.
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   142.     After receiving the Dispute Notice from Equifax, Defendant Scana

       negligently failed to conduct its reinvestigation in good faith.

   143.     A reasonable investigation would require a furnisher such as Defendant

       Scana to consider and evaluate a specific dispute by the consumer, along with

       all other facts, evidence and materials provided by the agency to the

       furnisher.

   144.     Additionally, Defendant Scana failed to continuously mark the account

       as disputed despite receiving notice of the Plaintiff’s dispute.

   145.     The conduct, action and inaction of Defendant Scana was negligent,

       entitling the Plaintiff to recover actual damages under 15 U.S.C. § 1681o.

   146.     As a result of the conduct, action and inaction of the Defendant Scana,

       the Plaintiff suffered damage for the loss of credit, loss of the ability to

       purchase and benefit from credit, and the mental and emotional pain, anguish,

       humiliation and embarrassment of credit denials.

   147.     The Plaintiff is entitled to recover reasonable costs and attorney’s fees

       from the Defendant Scana in an amount to be determined by the Court

       pursuant to 15 U.S.C. § 1681n and 1681o.

   WHEREFORE, Plaintiff, Jeffrey Brown, an individual, demands judgment in his

favor against Defendant Scana, for damages together with attorney’s fees and court

costs pursuant to 15 U.S.C. § 1681o.
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                         DEMAND FOR TRIAL BY JURY

   148.      Plaintiff demands and hereby respectfully requests a trial by jury for

      all claims and issues this complaint to which Plaintiff is or may be entitled

      to a jury trial.

                             PRAYER FOR RELIEF

WHEREFORE, Plaintiff demands judgment from each Defendant as follows:

     a) For actual damages provided and pursuant to 15 U.S.C. § 1681o(a) be

          awarded for each negligent violation as alleged herein;

     b) For actual damages provided and pursuant to 15 U.S.C. § 1640(a)(1);

     c) For Statutory damages provided and pursuant to 15 U.S.C. § 1681n(a);

     d) For Statutory damages provided and pursuant to 15 U.S.C. § 1640(a)(2);

     e) For Punitive damages provided and pursuant to 15 U.S.C. § 1681n(a)(2);

     f) For attorney fees and costs provided and pursuant to 15 U.S.C.

          § 1681n(a)(3), 15 U.S.C. § 1681o(a)(2) and 15 U.S.C. § 1640(a)(3);

     g) For any such other and further relief, as well as further costs, expenses

          and disbursements of this action as this Court may deem just and proper.

Dated: November 18, 2020

                                                    s/ Misty Oaks Paxton
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